          Case 2:19-cv-02247-JWL-GEB Document 3 Filed 06/21/19 Page 1 of 3




                           UNITED STATES DISTRICT COURT FOR THE
                                    DISTRICT OF KANSAS

    GARREN L. LOVELACE,                                  )
                                                         )
                     Plaintiff,                          )
                                                         )
    vs.                                                  )
                                                         )        Case No. 2:19-CV-02247-JWL-GEB
    BUFFALO WILD WINGS (sic) and                         )
    INSPIRE BRANDS (sic),                                )
                                                         )
                     Defendants.                         )

      UNOPPOSED MOTION FOR ORDER RELEASING KANSAS HUMAN RIGHTS
          COMMISSION DOCUMENTS AND SUGGESTIONS IN SUPPORT

          Defendants Buffalo Wild Wings and Inspire Brands1 move the Court for an Order directing

the Kansas Human Rights Commission (“KHRC”) to make available for inspection and copying

all records in its possession concerning Plaintiff Garren L. Lovelace’s Charge of Discrimination

(Docket 39969-18), including, but not limited to, correspondence, notes, tape recordings, reports,

and investigative materials, and excluding materials considered by the KHRC to be conciliatory,

deliberative, or attorney work product. In support of this Motion, Defendants state:

          1.       This is a lawsuit arising out of the termination of Plaintiff’s employment.

          2.       Plaintiff filed a Charge of Discrimination with the KHRC, Docket No. 39969-18,

alleging that Defendants discriminated against him based on his race, age, and alleged disability,

and retaliated against him by terminating his employment.

          3.       Documents in KHRC’s possession are reasonably likely to lead to the discovery of

admissible evidence relating to Plaintiff’s claims.

          4.       Defendants are not aware of any specific objection KHRC has to producing the

records, other than its policy is not to release the records without Court order, and its policy not to



1
          The correct legal entities are Real Wing, Inc. and Inspire Brand, Inc., respectively.
       Case 2:19-cv-02247-JWL-GEB Document 3 Filed 06/21/19 Page 2 of 3




release materials considered by the KHRC to be conciliatory, deliberative, or attorney work

product.

       5.      A copy of this Motion is being sent to the Chief Legal Counsel for KHRC.

       6.      Defense counsel has consulted with Plaintiff’s counsel regarding this Motion, and

he does not oppose the Motion.

       WHEREFORE, Defendants request that the Court Order the KHRC to make available for

copying and inspection all records in its possession concerning Plaintiff Garren L. Lovelace

(Docket No. 39969-18), including, but not limited to, correspondence, notes, tape recordings,

reports and investigative materials, and excluding materials considered by the KHRC to be

conciliatory, deliberative, or attorney work product. Defendants will submit a Proposed Order

directing KHRC to release the above-referenced documents concerning Charges of Discrimination

filed by Plaintiff Garren L. Lovelace.

                                            Respectfully submitted,

                                            /s/ Stacy M. Bunck
                                            Stacy M. Bunck        KS #20531
                                            OGLETREE, DEAKINS, NASH, SMOAK
                                              & STEWART, P.C.
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                                            ATTORNEYS FOR DEFENDANTS




                                                  -2-
       Case 2:19-cv-02247-JWL-GEB Document 3 Filed 06/21/19 Page 3 of 3




                               CERTIFICATE OF SERVICE

        The undersigned certifies that on the 21st day of June, 2019, the foregoing was filed
electronically with the Clerk of the Court using the CM/ECF system which sent notification of
such filing to:

       Gerald Gray II
       G. GRAY LAW, LLC
       104 W. 9th Street, Suite 401
       Kansas City, MO 64105
       816.888.3145
       816.817.4683 (Facsimile)
       ggraylaw@outlook.com

       ATTORNEY FOR PLAINTIFF

                                              /s/ Stacy M. Bunck
                                              ATTORNEY FOR DEFENDANTS




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